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Ordinary Course Professional Quarterly Statement of Payments


                                                                                         For the Postpetition Period of January 01, 2016 to March 31,   Aggregate Postpetition Payments Through
                                                                                                                     2016                                           March 31, 2016

                                                                                         Compensation for          Average                              Compensation for
                  OCP                                   Service Description              Services / Expense        Monthly    Total Payments            Services / Expense    Total Payments
                                                                                         Reimbursement (1)       Compensation                           Reimbursement (1)
Tier 1 OCP's (3-Month Rolling Average Cap of $450,000)
Bracewell & Giuliani LLP             Environmental Advice / Political Consultant                      30,102             10,034             30,102                766,859              766,859
Duff & Phelps LLC                    Valuation - Impairment; Property Tax                            274,959             91,653            274,959              1,105,340            1,105,340
Hawkins Parnell Thackston & Young    Litigation - Asbestos                                                14                  5                 14                 12,633               12,633
Hunton & Williams LLP                Benefits-Immigration, Political Consultant                      332,639            110,880            332,639              1,974,767            1,974,767
K&L Gates                            Transaction Advice; Non-Income Tax Litigation                    12,603              4,201             12,603                842,944              842,944
Morgan Lewis & Bockius LLP           Regulatory (NRC) and Labor                                      388,480            129,493            388,480              1,854,664            1,877,694
Vinson & Elkins LLP                  Regulatory, Real Estate Advice                                  115,836             38,612            115,836              1,730,707            1,730,707
Tier 2 OCP's (3-Month Rolling Average Cap of $195,000)
Alliance Consulting Group            Depreciation Study                                                     -                   -                 -                      -                    -
Allison McCombe Small                Political Consultant                                              9,000               3,000             9,000                 63,000               63,000
American Appraisal                   Property Tax Expert for Litigation                                     -                   -                 -                      -                    -
Armstrong & Associates LLP           Litigation - Asbestos                                                  -                   -                 -                 1,353                1,353
Arnold & Porter LLP                  Consulting Services                                              30,000              10,000            30,000                555,000              555,000
AYCO Company LP                      Financial Executive counseling                                   58,832              19,611            58,832                235,570              235,570
Baker Botts LLP                      IP, Transactional, and Contract Restructure                     192,854              64,285           192,854                897,132              897,132
Beirne Maynard & Parsons LLP         Litigation - Asbestos                                                  -                   -                 -                   281                  281
Beveridge and Diamond PC             Litigation - Water                                                3,043               1,014             3,043                165,647              165,647
Bluewater Strategies LLC             Consulting Services                                              22,500               7,500            22,500                247,500              247,500
Boulette Golden & Marin L.L.P.       Legal Advice -Labor and Employment                                     -                   -                 -                18,403               18,403
Bradley Arant Boult Cummings LLP     Adv- Asbestos Exposure                                                 -                   -                 -                      -                    -
Brady & Peavey, P.C.                 Public affairs and political consulting services                 10,000               3,333            10,000                122,500              122,500
Burford & Ryburn LLP                 Litigation - Asbestos                                                  -                   -                 -                10,817               10,817
Carl S. Richie, Jr. Attorney At Law  Political Consultant                                                   -                   -                 -               203,641              203,641
DCI Group LLC                        Consulting Services                                                    -                   -                 -               405,429              405,429
Deloitte Tax LLP                     FIRPTA Advisory Services                                         25,261               8,420            25,261                 25,261               25,261
Diane Yanaway                        Political Consultant                                                   -                   -                 -                78,438               78,438
Dykema Gossett                       Counsel for TXU Chyba case                                             -                   -                 -                      -                    -
Eddie Cavazos                        Political Consultant                                             12,420               4,140            12,420                135,439              135,439
Edward M. Shack                      Political Activities Law Advice                                        -                   -                 -                 4,000                4,000
Estes Okon Thorne & Carr PLLC        Litigation - General                                                765                 255               765                198,742              198,742
Fish & Richardson PC                 Litigation - General                                                   -                   -                 -                      -                    -
Goldberg Godles Wiener & Wright      Regulatory Advice                                                 3,835               1,278             3,835                 24,167               24,167
Goodmans LLP                         Canadian Counsel for Ebasco Services of                                -                   -                 -                      -                    -
Gruber Hurst Johansen Hail           Litigation - General                                              1,516                 505             1,516                 42,734               42,734
Haley Olson                          Environmental Litigation                                               -                   -                 -                 2,703                2,703
Harris & Dickey LLC                  Tax Consulting                                                         -                   -                 -                      -                    -
HMWK LLC                             Political Consultant                                              7,500               2,500             7,500                150,000              150,000
Husch Blackwell Sanders LLP          Employment Litigation/Political Consultant                             -                   -                 -                25,949               25,949
Imperium Public Affairs              Political Consultant                                             24,522               8,174            24,522                253,198              253,198
Ireland Carroll & Kelley PC          Environmental Litigation                                               -                   -                 -                    18                   18
Jack Roberts                         Political Consultant                                             24,000               8,000            24,000                168,000              168,000




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                                                                                          For the Postpetition Period of January 01, 2016 to March 31,   Aggregate Postpetition Payments Through
                                                                                                                      2016                                           March 31, 2016

                                                                                          Compensation for          Average                              Compensation for
                  OCP                                   Service Description               Services / Expense        Monthly    Total Payments            Services / Expense    Total Payments
                                                                                          Reimbursement (1)       Compensation                           Reimbursement (1)
Jack W Gullahorn PC                       Political Consultant                                         60,000              20,000            60,000                621,566              621,566
Jackson Gilmour & Dobbs, PC               Regulatory - Environmental                                  120,011              40,004           120,011                285,050              285,050
Jackson Kelly PLLC                        Regulatory - MSHA/OSHA                                       33,933              11,311            33,933                139,950              139,950
Jackson Lewis, P.C.                       Legal Advice - Labor and Employment                                -                   -                 -                19,563               19,563
Jackson Sjoberg Mccarthy                  Real Estate Mining                                            7,554               2,518             7,554                272,727              272,727
John Hildreth                             Political Consultant                                         10,000               3,333            10,000                200,000              200,000
John Sherwood                             Collections for TXU                                           2,093                 698             2,093                  8,093                8,093
Kelly Hart & Hallman                      Litigation - Environmental and General                             -                   -                 -                      -                    -
Kyle Bibb                                 Federal Income Tax Advice                                    35,225              11,742            35,225                205,350              205,350
Lam Lyn & Philip PC                       Collections for TXU                                           2,078                 693             2,078                  4,085                4,085
Laurie Fenstemaker Pair                   Ethics Consultant                                            11,550               3,850            11,550                113,833              113,833
Law Offices Of Dan Gus                    Litigation - General                                               -                   -                 -                 8,025                8,025
LeClairRyan                               Retail Advice                                                 2,525                 842             2,525                 18,657               18,657
Lillard Wise Szygenda PLLC                Litigation - General                                               -                   -                 -                 3,792                3,792
Lisa Garcia                               Political Consultant                                         22,500               7,500            22,500                167,581              167,581
Littler Mendelson PC                      Employment Litigation                                        33,544              11,181            33,544                290,998              290,998
Locke Lord Bissell & Liddell              Benefits Advice                                              12,416               4,139            12,416                231,467              231,467
LPI Consulting Inc                        Consulting Services                                          20,000               6,667            20,000                220,000              220,000
Madison Group LLC                         Consulting Services                                          56,250              18,750            56,250                417,655              417,655
McConnell & Jones LLP                     Employee Benefits Auditor                                     4,250               1,417             4,250                123,396              123,396
McGivney & Kluger P.C                     Litigation - Asbestos                                              -                   -                 -                   216                  216
McGlinchey Stafford PLLC                  Bankruptcy for TXU                                           14,283               4,761            14,283                132,055              132,055
Mcguirewoods LLP                          Federal Political Consultant                                 43,307              14,436            43,307                443,450              443,450
Mehlman Vogel Castagnetti Inc             Consulting Services                                                -                   -                 -               240,000              240,000
Mercer Global                             401k Consulting                                                    -                   -                 -                51,674               51,674
Mgroup Strategies                         Political Consultant                                         28,419               9,473            28,419                280,925              280,925
Mignon McGarry                            Political Consultant                                         19,000               6,333            19,000                190,000              190,000
Mike Kelly                                Political Consultant                                               -                   -                 -                93,636               93,636
Miller & Chevalier Chartered (2)          Federal Income Tax and Benefits Legal Advice                145,258              48,419           145,258                546,583              546,583
Norton Rose Fulbright                     Legal Counsel for Gross Receipts Tax Matters                    443                 148               443                  5,535                5,535
O'Neill, Athy & Casey PC                  Consulting Services                                          15,000               5,000            15,000                165,000              165,000
Perry Street Communications LLC           Financial communications                                     27,258               9,086            27,258                344,128              344,128
Phenix & Crump, PLLC                      Local Counsel in Partition Actions                                 -                   -                 -                 4,407                4,407
Phil Gamble                               Political Consultant                                         20,000               6,667            20,000                200,566              200,566
Philips & Meachum Public Affairs          Political Consultant                                         43,500              14,500            43,500                304,500              304,500
Pillsbury Winthrop Shaw Pittman           Litigation - General                                               -                   -                 -                12,214               12,214
Polan Culley Advocacy Group               Political Consultant                                         32,000              10,667            32,000                264,665              264,665
Prickett Jones & Elliott PA               Delaware Corp. Law Advice                                          -                   -                 -                      -                    -
Public Strategies Inc                     Consulting Services                                                -                   -                 -                      -                    -
R. H. Sweeney Associates                  Leadership Development & Recruiting                                -                   -                 -                      -                    -
Reed Smith                                Litigation - General                                               -                   -                 -                      -                    -
Rissing Strategic                         External Federal Lobbyist                                    30,000              10,000            30,000                 60,000               60,000
Robert Half Finance & Accounting          Tax Consulting                                                     -                   -                 -                31,720               31,720



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                                                                                            For the Postpetition Period of January 01, 2016 to March 31,   Aggregate Postpetition Payments Through
                                                                                                                        2016                                           March 31, 2016

                                                                                             Compensation for         Average                              Compensation for
                  OCP                                   Service Description                  Services / Expense       Monthly    Total Payments            Services / Expense     Total Payments
                                                                                             Reimbursement (1)      Compensation                           Reimbursement (1)
Ryan LLC                                  Tax abatement/reduction strategies for new                           -                   -                 -                        -                  -
Ryan Mackinnon Vasapoli & Berzok          Consulting Services                                                  -                   -                 -                 305,732            305,732
SAK Consulting, LLC                       Tax Consulting                                                       -                   -                 -                  36,419             36,419
San Jacinto Consulting Group, LLC         Consulting Services                                            49,500              16,500            49,500                  206,250            206,250
Scheef & Stone LLP                        Bankruptcy Advice                                                    -                   -                 -                 157,079            157,079
SHL US Inc.                               Recruiting                                                           -                   -                 -                  14,415             14,415
Simpson Thacher & Bartlett LLP            Corporate and Financing Advice                                       -                   -                 -                  90,559             90,559
Slover & Loftus                           Transportation Advice                                           3,105               1,035             3,105                   29,718             29,718
Stroz Friedberg LLC (3)                   IT and Data Security Advisor                                  234,694              78,231           234,694                  455,283            455,283
Susman Godfrey LLP                        Litigation - General                                          107,336              35,779           107,336                  115,460            115,460
Sutherland Asbill & Brennan LLP           Regulatory Advice                                              71,127              23,709            71,127                  234,162            234,162
Swetman Baxter Massenburg LLC             Litigation - Asbestos                                                -                   -                 -                        -                  -
Talley & Associates                       Consulting Services                                                  -                   -                 -                 150,000            150,000
The Beshear Group, Inc.                   Public Relations and Community Affairs                               -                   -                 -                  95,236             95,236
The EOP Group                             Consulting Services                                            15,000               5,000            15,000                  300,000            300,000
The Schlueter Group                       Political Consultant                                           10,000               3,333            10,000                  205,500            205,500
The Willis Law Group, PLLC                Litigation - General                                              148                  49               148                    3,658              3,658
Thomas Long Niesen & Kennard              Regulatory Advice                                                    -                   -                 -                   1,793              1,793
TLG Services, Inc.                        Nuclear Decommissioning Study                                        -                   -                 -                        -                  -
Towers Watson Pennsylvania, Inc. (4)      Compensation Advisor                                           41,656              13,885            41,656                  698,359            698,359
Travis Eugene Jernigan                    Political Consultant                                           36,913              12,304            36,913                  310,011            310,011
Weber Shandwick                           Media relations, visual comm                                   24,750               8,250            24,750                   81,154             81,154
Webfilings LLC                            XBRL coding, application hosting                                     -                   -                 -                  73,814             73,814
Winston & Strawn LLP                      Regulatory Advice                                              48,380              16,127            48,380                  399,026            399,026
Zolfo Cooper, LLC                         Conflicts Matter Advisor                                             -                   -                 -                        -                  -

1. For purposes of this report, includes aggregate amounts paid as compensation for services rendered and reimbursement of expenses incurred unless otherwise noted.
2. A notice of excess fees was filed on 2/10/2016 related to three month service period ending November 30, 2015.
3. A notice of excess fees was filed on 1/28/2016 related to three month service period ending in July 31, 2015.
4. Includes $57k omission related to Q3 2015.




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